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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                     )
                                               )
                      Plaintiff,               )
                                               )
        v.                                     )    Criminal Action No. 23-61 (MN)
                                               )
 ROBERT HUNTER BIDEN,                          )
                                               )
                      Defendant.               )

                                          ORDER

       At Wilmington, this 12th day of April 2024, for the reasons set forth in the Memorandum

Opinion issued on this date, IT IS HEREBY ORDERED that:

       1.     Defendant’s motion to dismiss the indictment for selective and vindictive

prosecution (D.I. 63) is DENIED;

       2.     Defendant’s motion for discovery and an evidentiary hearing relating to his

selective and vindictive prosecution motion (D.I. 64) is DENIED; and

       3.     Defendant’s motion for issuance of subpoenas duces tecum pursuant to Federal

Rule of Criminal Procedure 17(c) (D.I. 58) is DENIED.




                                                   The Honorable Maryellen Noreika
                                                   United States District Judge
